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 3                                           EXHIBIT B

 4                COMPENSATION BY CATEGORY FOR SERVICES RENDERED
                      BY DELOITTE & TOUCHE LLP FOR THE PERIOD
 5                        APRIL 1, 2020 THROUGH APRIL 30, 2020

 6

 7   Categories                                                     Hours                      Fees
     2020 Audit Services                                             978.3             $233,061.00
 8
     2020 California Wildfires                                        23.0              $16,680.00
 9   2020 Post Bankruptcy Matters                                    259.1             $172,663.00
     2020 Registration Statement and Financing Reviews                36.6              $18,074.00
10
     2020 Regulatory Accounting                                        8.0               $4,530.00
11   Preparation of Fee Applications                                  48.4              $12,717.00
     Fees Category Subtotal :                                      1,353.4            $457,725.00
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